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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


JAZZ PHARMACEUTICALS, INC.,

                        Plaintiff,

      v.
                                        C.A. No. 21-691-GBW
AVADEL CNS PHARMACEUTICALS, LLC,


                        Defendant.

JAZZ PHARMACEUTICALS, INC., et al.,

                        Plaintiffs,

      v.
                                        C.A. No. 21-1138-GBW
AVADEL CNS PHARMACEUTICALS, LLC,


                        Defendant.

JAZZ PHARMACEUTICALS, INC., et al.,

                        Plaintiffs,

      v.
                                        C.A. No. 21-1594-GBW
AVADEL CNS PHARMACEUTICALS, LLC,

                        Defendant.


                        DECLARATION OF PATIENT NO. 3
                           PATIENT DECLARATION
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I,                   , declare as follows:

       1.      I understand from counsel for Avadel that Jazz Pharmaceuticals is trying to

prevent Avadel from selling LUMRYZ to new patients. I have written this declaration to

describe my experience with narcolepsy treatments, including XYREM and LUMRYZ.

       2.      As long as I can remember, I had a lot of trouble falling asleep. When I actually

could fall asleep, I would wake up a bunch of times during the night. Then, when I would wake

up, I would not feel like I had gotten any good sleep. All of these issues with my sleep caused so

many problems for me when I started school, since I had trouble waking up in the morning and

maintaining a consistent schedule.

       3.      I was diagnosed with narcolepsy when I was in the third grade after I took a sleep

study. After I was diagnosed with narcolepsy, the doctor tried many different non-oxybate drugs.

None of them worked. I missed many days of school because it was so hard for me to wake up

in the morning. I also had a hard time keeping up with my school work and paying attention

throughout the day when I did attend. Some years I missed more days of school than I was even

there. I even had to be home schooled for sixth grade and eighth grade.

       4.      When I was in school, many teachers thought I was lazy because I was absent so

often and had trouble paying attention during class or did not turn my work in. While some of

my teachers were accommodating and understanding, most were not. When I had something

important like a big test coming up, I would typically stay awake for several days so that I could

make sure that I would be able to get at least some sleep the night before.

       5.      When I was in high school, I was prescribed XYREM. It was the first drug that

worked for me and literally changed my life. For the first time, I was able to fall asleep and stay


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asleep. And in the morning, I felt like I had finally gotten good sleep and finally was able to

keep a consistent schedule.

       6.      With an effective treatment for my narcolepsy, I was able to actually go to school

consistently. I dual enrolled in high school and college classes, and ultimately obtained my high

school diploma and associate’s degree at the same time. Following that, I got my bachelor’s

degree in biomedical sciences with a 4.0 GPA.

       7.      After some time on XYREM, certain issues started to ware on me. Setting an

alarm to wake up in the middle of the night to take the second dose was a hassle, and something

that I always had to have in the back of my mind. There were a lot of times that I would end up

skipping the second XYREM dose, rather than waking up to take it. Even though I would end up

having fragmented sleep for the second half of the night, I didn’t like having my sleep

interrupted to take the second dose. I would feel a lot less rested the next day when I did not take

the second dose.

       8.      A few years ago, my doctor told me there was a research trial that I could

participate in involving a once-nightly oxybate treatment. I was excited about the study and

started taking LUMRYZ. I have taken it ever since.

       9.      For me, LUMRYZ is just as effective as XYREM at helping me fall asleep. But it

is better at helping me get consistent, unfragmented sleep every night. I wake up less during the

night and do not have to worry about waking up to take a second dose. Because of my improved

sleep, I feel better in the morning and am able to keep a consistent schedule, concentrate better,

and hold down a job.

       10.     For me, LUMRYZ has been a huge improvement in my quality of life, and I have

no desire to switch back to XYREM. I think LUMRYZ is an option that should be available to

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    everyone with narcolepsy.



    I declare under penalty of perjury under the laws of the United States of America that the foregoing

    declaration is true and correct.



                   April 29
    Executed on ________________, 2024

     ____________________,
at Indian Harbour Beach, Florida




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                               CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that true and correct copies of the foregoing

document were caused to be served on May 13, 2024 on the following counsel in the manner

indicated below.

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 Dated: May 13, 2024                                   /s/ Daniel M. Silver
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